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                                                  November 9, 2018




        VIA ECF

        Hon. Katherine Polk Failla
        United States District Judge
        Thurgood Marshall
        United States Courthouse
        40 Foley Square
        New York, NY 10007

                           Re:   Geo-Group Communications, Inc. v. Chopra et al.,
                                 No. 15-cv-1756 (KPF) (S.D.N.Y.) | Letter Motion for
                                 Leave to Serve Document Subpoenas

        Dear Judge Failla:

        We represent Plaintiff Geo-Group Communications, Inc. (“Geo-Group”) in the
        referenced matter.

        Pursuant to Fed. R. Civ. P. 16, 26, 30, and 45, and the Court’s inherent power, Geo-
        Group respectfully moves for an order granting it permission to serve document
        subpoenas on the following two banks and three Jaina or Neminath Certified Public
        Accountants: Citibank, Capital One Bank, CPA Harvinder Dhody, CPA Aqueel Khan,
        and CPA Andrew Bose. The scope of each of these proposed subpoenas is set forth in
        Exhibit A.

        Geo-Group also respectfully requests leave to serve a documents subpoena on NRM
        Holdings, Inc., a company to which Jaina paid approximately $337,000.00 during the
        period December 26, 2013 – November 26, 2014, which Geo-Group understands,
        based on the evidence previously adduced, was in exchange for a $2.5 million letter of
        credit (“LOC”). Geo-Group wants to obtain a copy of the LOC as well as any
        correspondence between NRM Holdings, Inc. and Jaina, Mr. V. Shah, or anyone acting
        or purporting to act on Jaina’s behalf.

                      Document Subpoenas to be Served on the Jaina and Neminath CPAs

        CPAs Harvinder Dhody, and Aqueel Khan prepared certain of Jaina Systems Network,
        Inc. (“Jaina”)’s tax returns, and may have also prepared tax returns of the other Jaina
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Entities: Jaina Systems Network (India) Private Limited (“Jaina India”), Jaina
Infrastructure Inc (“Jaina Infrastructure”), Jaina Call India, Inc. (“Jaina Call India”),
Jaina Realty Inc. (“Jaina Realty”), Ipsita Telecom Services, Inc. (“Ipsita Telecom”), or
Wiphonica Technologies Inc. CPA Andrew Bose was Neminath’s CPA, but may also
have been involved in the preparation of Jaina’s tax returns, or tax returns of the
Jaina Entities.

The document subpoenas seek information relevant to the claims against Mr. V. Shah,
including Geo-Group’s claims for actual fraudulent conveyance under Section 276 of
the Debtor and Creditor Law. The subpoena to CPA Andrew Bose would also seek
certain documents relevant to the claims against the dismissed LLC defendants and
Sanjiv Chand, which will be the subject of the motion Geo-Group intends to make
next week. While M. Shah and Mr. Chopra produced Jaina tax returns for the period
2012 through 2015, key schedules and other portions of the returns were not
produced. (See, e.g., Letter from Philip J. Loree Jr. to Anil Arora dated January 5,
2017, a copy of which is attached as Ex. B.) None of the defendants produced any of
the tax returns for any of the other Jaina Entities, and each, including V. Shah,
testified that they had produced everything that they had in their possession, custody,
or control concerning Jaina, including all tax returns, and any documents supporting
or relating to the numbers reported by those returns.

As explained in Exhibit C, the information on Schedule L, Line 23 of Jaina’s tax
returns raises fundamental questions relevant to whether the more than
$2,000,000.00 in “loans” V. Shah testified he made to Jaina were treated on Jaina’s
books as capital contributions. These questions include who contributed to Jaina the
$1,530,250 in Additional Paid in Capital as of the beginning of tax year 2011, the
$869,000 in Additional Paid-in Capital during tax year 2011, and the $92,864 in
Additional Paid-in Capital during Tax Year 2013? (See Ex. C.) We think the documents
the CPAs will produce will confirm that some or all of that Additional Paid -in Capital
was contributed directly or indirectly by V. Shah.

The documents sought are also pertinent to Buckets 3 and 4 of the missing or
transferred cash referred to in Exhibit D and discussed at the October 10, 2018
settlement conference. Geo-Group believes that some or all of that cash was
transferred to Vipin directly or indirectly. (See Ex. D.)

The CPA document subpoenas are relatively narrow in scope and should impose no
meaningful burden on the CPAs. The CPAs are obligated by law to retain copies of tax-
returns filed, and supporting documents, for at least a five-year period.

                    Document Subpoenas to be Served on Banks


Geo-Group is seeking leave to serve document subpoenas on Citibank and on Capital
One Bank, Jaina’s two banks. Geo-Group is in the process of negotiating with

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Citibank to attempt to obtain from Citibank documents which it requested in a much
broader subpoena it served on Citibank at the conclusion of the discovery period, but
which documents Citibank either did not produce or which may have been lost in the
mail. If Geo-Group can obtain the previously requested documents from Citibank,
then that may obviate the need to serve another subpoena on Citibank.

The documents Geo-Group seeks relate to Buckets 1 and 2 of the four “Buckets” of
Jaina missing or transferred cash, which Geo-Group discussed at the October 10,
2018 settlement conference, and which is described in Ex. E (Bucket 1) and Ex.D
(Buckets 2, 3, & 4).

Geo-Group believes that some, if not all, of the unaccounted-for payments and
withdrawals that are part of Buckets 1 and 2 were made to or for the benefit of V.
Shah, and to that extent would increase the dollar amount of Geo-Group’s actual and
constructive fraudulent transfer claims against V. Shah. For example, $500,000 of
these withdrawals was of funds drawn from a Citibank $1,000,000 line of credit that
Vipin Shah fraudulently obtained from Citibank by signing as Jaina’s President. (See
Certification of Govind Vanjani ¶¶ 21, 39-43, Dk. 218, at 8-9 of 49 & 15-16 of 49; see
Ex. F.) V. Shah, relying on an unsigned document, and ignoring his own deposition
testimony, recently (and falsely) represented to the Court that his only role concerning
the Citibank line of credit was as a guarantor. Geo-Group believes the requested
documents will show that Mr. V. Shah was the transferee or beneficiary of some or all
of the $500,000.

             Document Subpoenas to be Served on NRM Holdings, Inc.

Correspondence produced by R. Chopra, which was copied to V. Shah, refers to Jaina
having obtained a $2.5 million letter of credit as a means of securing its obligations,
and managing its financial exposure to, Aircel, one of Jaina’s principal suppliers for
Jaina’s telecom business. (See Ex. G.) That correspondence also shows that Jaina
managed its exposure to Aircel by obtaining insurance to cover Jaina’s receivables
and netting out debts by way of a reciprocal arrangement under which Aircel would be
Jaina’s customer (and Jaina Aircel’s supplier). It also shows that Jaina purchased the
letter of credit was purchased for approximately $330,000. (See Ex. G.)

V. Shah, who was copied on the correspondence (which he didn’t produce), denies any
knowledge of the $2.5 million letter of credit, as did Mr. Chopra. (See V. Shah Tr. at
96; Chopra Tr. 321-22.) Nobody has produced a copy of the letter of credit.

After combing for the nth time through Jaina’s bank statements, Geo-Group identified
a series of payments made during the period December 26, 2013 – November 26, 2014
to NRM Holdings, Inc. Further research revealed that NRM Holdings holds itself out
online as company that seeks to arrange through its banking relationships,
“immediate short-term funding options,” including “Letters of Credit[,]” for “small


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growing businesses” that “are undercapitalized” or are “facing financial distress.” (See
https://www.nrmholdings.com/, last checked November 9, 2018.)

The evidence from NRM Holdings, Inc., the banks, and the CPAs should , in
conjunction with other evidence, help Geo-Group show at trial that Jaina, armed with
the LOC, its other security, and with the 15-15 credit terms it had with Aircel (see Ex.
H) (and almost all of its other suppliers): (a) should have been able to conduct up to
$5 million business per month (measured in gross revenue) or $60 million per year;
(b) in fact conducted business of about $40 million a year during the period the LOC
was in effect; and (c) Jaina’s chronic cash flow problems, and insolvency in 2014 were
caused by the transfers of cash to Mr. V. Shah, the LLC Entities, not by any flaw in
Jaina’s basic business model. It will also help show that, upon the Court’s
confirmation of the arbitration award in December 2014, Jaina suddenly ceased its
operations, and V. Shah, M. Shah, and others refused to pay Jaina’s suppliers and
appropriated the insured receivables and the more than six million dollars of cash
that subsequently vanished from Jaina’s financial and banking statements.

Respectfully submitted,



Philip J. Loree Jr.




cc: All counsel of Record (via ECF) and Pro Se Parties (via ECF/Email)




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